Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 1 of 13 PageID #: 102



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                               CV 16-02460
 -----------------------------------------------------X
 JUSTIN MARTINEZ &
 JENNIE PEREZ VIERRA,
                     Plaintiff(s),
           v.                                                               FIRST AMENDED
 THE CITY OF NEW YORK,                                                      COMPLAINT
 NEW YORK CITY POLICE OFFICER
 MICHAEL ARDOLINO, Shield # 3101,
 75th Precinct,
 NEW YORK CITY POLICE SERGEANT
 ROBERT MARTINEZ, Shield # 13,
 75th Precinct,
 NEW YORK CITY POLICE OFFICER
 TODD HANSEN, Shield # 13329
 75th Precinct,
 NEW YORK CITY POLICE OFFICER
 JOHN DOE NUMBER ONE, 75th Precinct,
                     Defendant(s).
 --------------------------------------------------------X


                                           PRELIMINARY STATEMENT


          1. This is a Civil Rights Action in which Plaintiffs, JUSTIN MARTINEZ and JENNIE PEREZ

               VIERRA, seeks redress for the Defendants’ violations of rights secured by the Civil Rights Act

               of 1866 and 1871, 42 U.S.C 1983 and of the rights secured by the Fourth Amendment, and by

               the Equal Protection Clauses of the Fourteenth Amendment to the United States Constitution

               and/or rights secured under the laws and Constitution of the State of New York.

                                                         JURISDICTION

          2.    Jurisdiction is conferred upon this Court by 28 U.S.C. Sections 1331, 1343(3), this being an

               action seeking redress for the violation of Plaintiffs’ Constitutional and Civil Rights. The

               amount of damages in controversy exceeds One Hundred and Fifty Thousand ($150,000.00)

               Dollars, exclusive of interest and costs.

          3. Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C Sections 2201

               and 2202 and Rule 57 of the Federal Rules of Civil Procedure.



                                                             1
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 2 of 13 PageID #: 103



       4. The Plaintiffs further invoke this Court’s pendant jurisdiction, pursuant to 28 U.S.C. Section

            1367(a), over any and all State claims as and against all parties that are so related to claims in

            this action within the original jurisdiction of this Court that they form part of the same case or

            controversy.

       5. The Plaintiffs demand a jury trial on each and every one of the claims pleaded herein.

                                                         VENUE

       6. Venue is proper for the United States District Court for the Eastern District of New York

            pursuant to 28 U.S.C. Sections 1391(a), (b) and (c).

                                                         PARTIES

       7.   The Plaintiffs, JUSTIN MARTINEZ and JENNIE PEREZ VIERRA, are United States

            Citizens, and are, and at all times relevant herein, residents of the State of New York.

       8. Defendants, NEW YORK CITY POLICE OFFICER MICHAEL ARDOLINO, NEW YORK

            CITY POLICE SERGEANT ROBERT MARTINEZ, NEW YORK CITY POLICE OFFICER

            TODD HANSEN and NEW YORK CITY POLICE OFFICER JOHN DOE NUMBER ONE,

            upon information and belief of the SEVENTY FIFTH PRECINCT, are at all times relevant,

            Officers and employees/agents of THE NEW YORK CITY POLICE DEPARTMENT, a

            municipal agent of Defendant CITY OF NEW YORK. Defendants, NEW YORK CITY

            POLICE OFFICER ARDOLINO, NEW YORK CITY POLICE SERGEANT MARTINEZ,

            NEW YORK CITY POLICE OFFICER HANSEN and NEW YORK CITY POLICE

            OFFICER JOHN DOE NUMBER ONE are sued individually and in their official capacity. At

            all times relevant, Defendants NEW YORK CITY POLICE OFFICER ARDOLINO, NEW

            YORK CITY POLICE SERGEANT MARTINEZ, NEW YORK CITY POLICE OFFICER

            HANSEN AND NEW YORK CITY POLICE OFFICER JOHN DOE NUMBER ONE were

            acting under the color of State Law in the course and scope of their duties and functions as

            agents, servants, employees and Officers of THE NEW YORK CITY POLICE

            DEPARTMENT and Defendant CITY OF NEW YORK and otherwise performed and engaged

                                                     2
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 3 of 13 PageID #: 104



          in conduct incidental to the performance of their lawful duties. Defendants, NEW YORK

          CITY POLICE OFFICER ARDOLINO, NEW YORK CITY POLICE SERGEANT

          MARTINEZ, NEW YORK CITY POLICE OFFICER HANSEN and NEW YORK CITY

          POLICE OFFICER JOHN DOE NUMBER ONE, were acting for and on behalf of THE NEW

          YORK CITY POLICE DEPARTMENT at all times relevant herein with the power and

          authority vested in them as Police Officers, agents and employees of THE NEW YORK CITY

          POLICE DEPARTMENT and Defendant CITY OF NEW YORK, and incidental to the lawful

          pursuit of their duties as Officers, employees and agents of THE NEW YORK CITY POLICE

          DEPARTMENT and Defendant CITY OF NEW YORK.

       9. Defendant CITY OF NEW YORK is a municipal entity created and authorized under the laws

          of the State of New York. It is authorized by law to maintain a Police Department which acts

          as its agent in the area of Law Enforcement and for which it is ultimately responsible.

          Defendant CITY OF NEW YORK assumes the risk incidental to the maintenance of a Police

          Department and the employment of Police Officers as said risk attaches to the public consumers

          of the services provided by THE NEW YORK CITY POLICE DEPARTMENT.

       10. THE NEW YORK CITY POLICE DEPARTMENT, while not a named Defendant, is

          nevertheless a municipal entity created and authorized under the laws of the State of New York.

          It is authorized by law to carry out all police functions for Defendant CITY OF NEW YORK

          and assumes the risk incidental to the maintenance of a police force and the employment of

          Police Officers, including the named Defendant New York City Police Officers.



                                           STATEMENT OF FACTS

                                                  First Incident

       11. On May 15, 2015 at approximately 1:20 a.m., Plaintiff JUSTIN MARTINEZ was riding his

          bicycle in the vicinity of Elderts Avenue and Liberty Avenue headed toward McKinley Street

          in Kings County on his way home, when he was approached by named Defendant NEW YORK

                                                  3
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 4 of 13 PageID #: 105



          CITY POLICE OFFICER MICHAEL ARDOLINO, who had just exited an unmarked Police

          car which was occupied by named Defendants MARTINEZ and HANSEN. The Plaintiff

          observed the vehicle occupied by Defendant Officers MARTINEZ and HANSEN, which

          Plaintiff JUSTIN MARTINEZ did not realize was a police car, proceed to drive toward the

          Plaintiff, causing the Plaintiff to have to swerve onto the sidewalk to avoid being struck by the

          vehicle. The Plaintiff proceeded back onto the roadway, continuing to ride his bicycle toward

          his residence. While the Plaintiff was riding toward his residence, one of the two named

          Defendant Officers in the vehicle, either Defendant SERGEANT MARTINEZ or Defendant

          OFFICER HANSEN, opened the passenger side door and struck Plaintiff’s rear tire three times

          in an attempt to knock Plaintiff MARTINEZ off of his bicycle. Upon further information and

          belief, Plaintiff MARTINEZ was able to keep his balance and move ahead of the vehicle,

          whereupon the driver of the vehicle, either Defendant SERGEANT MARTINEZ or Defendant

          OFFICER HANSEN proceeded to strike the rear of the Plaintiff’s bicycle with the front bumper

          of the car, also in an attempt to knock Plaintiff MARTINEZ off of his bicycle. The actions of

          Defendants MARTINEZ and HANSEN caused damage to the rear tire of Plaintiff Martinez’

          bicycle and did cause Plaintiff MARTINEZ to briefly fall to the ground. Upon information

          and belief, Plaintiff MARTINEZ was able to ride his bicycle to his residence, followed by

          Defendants MARTINEZ and HANSEN.

                                                 Second Incident

       12. Upon information and belief, on May 15, 2015 at approximately 1:30 a.m., Defendant Officers

          MARTINEZ and HANSEN, began to bang on the front door of the Plaintiff’s residence,

          causing Plaintiff JENNIE PEREZ VIERRA, who was home recuperating from a recent medical

          procedure involving her heart, and who is in extremely poor cardiac health, to attempt to open

          the door to allow Defendants MARTINEZ and HANSEN and named Defendant Officers JOHN

          DOE NUMBER ONE and several other members of THE NEW YORK CITY POLICE

          DEPARTMENT to enter the Plaintiffs’ residence. As Plaintiff VIERRA was about to open the

                                                   4
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 5 of 13 PageID #: 106



          door, Defendant SERGEANT MARTINEZ and Defendant OFFICER HANSEN, along with

          Defendant NEW YORK CITY POLICE OFFICER JOHN DOE NUMBER ONE, violently

          pushed open the door causing it to break. Plaintiff JENNIE VIERRA, who recently had two

          cardiac stents put in, was pinned against the wall by the door, causing Plaintiff VIERRA

          extreme shortness of breath and physical injury, including ligament damage to her left shoulder.

          Plaintiff VIERRA was held by members of the NEW YORK CITY POLICE DEPARTMENT

          in this position for several minutes with enough force to cause Plaintiff VIERRA to defecate

          and urinate on herself.    Members of the NEW YORK CITY POLICE DEPARTMENT,

          including named Defendants SERGREANT MARTINEZ and OFFICER HANSEN and

          Defendant OFFICER JOHN DOE NUMBER ONE then began to physically punch Plaintiff

          JUSTIN MARTINEZ about the body and face causing injury and substantial pain to Plaintiff

          JUSTIN MARTINEZ. The aforementioned Defendant Officers and other members of the

          NEW YORK CITY also placed all of their weight on Plaintiff MARTINEZ, causing Plaintiff

          MARTINEZ to be unable to breath. Upon information and belief, when Plaintiff MARTINEZ’

          father attempted to film the conduct of the Defendant Officers, Defendant OFFICER HANSEN

          shined a light at the camera to prevent the incident from being filmed. Plaintiff MARTINEZ

          was also threatened by named Defendant Officers with arrest if he did not cease attempts to

          film the incident. Defendant ARDOLINO subsequently told the Plaintiff in sum and substance:

          “you made me run,” whereafter Defendant NEW YORK CITY POLICE OFFICER MICHAEL

          ARDOLINO began to strike Plaintiff MARTINEZ at least ten times on the left leg with a

          flashlight, while calling Plaintiff JUSTIN MARTINEZ a “stupid fat fucking spic”, and also

          striking Plaintiff JUSTIN MARTINEZ several times on the left side of his rib cage while

          Plaintiff was seated handcuffed in a police car. Plaintiff MARTINEZ was subsequently taken

          to the 75th Precinct where he was subjected to a partial strip search by Defendants ARDOLINO

          and SERGEANT MARTINEZ. Plaintiff JUSTIN MARTINEZ was subsequently held in

          custody for over twenty four hours, during which time he was physically searched again and

                                                   5
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 6 of 13 PageID #: 107



           subsequently treated by EMS at Central Booking, after which Plaintiff MARTINEZ was

           charged with several offenses, all of which were dismissed in November 2015. Both Plaintiffs

           were required to seek medical treatment at a local area hospital for injuries sustained during

           the incidents involving the Defendant Officers.

                                            FIRST FEDERAL CLAIM

            Violation of Rights Secured by Section 42 U.S.C. 1983 and the Fourth and Fourteenth

                        Amendments to the United States Constitution, Excessive Force

       13. The Plaintiffs incorporate by reference each of the allegations set forth in Paragraphs One (1)

           through Twelve (12) as if fully set forth herein.

       14. Upon information and belief, on May 15, 2015 the conduct of Defendant NEW YORK CITY

           POLICE SERGEANT ROBERT MARTINEZ and Defendant NEW YORK CITY POLICE

           OFFICER TODD HANSEN, acting under color of State Law, violated Section 42 U.S.C. 1983

           by unlawfully using excessive force upon Plaintiff JUSTIN MARTINEZ by striking the

           Plaintiff’s rear bicycle tire with the passenger door and front bumper of their police vehicle,

           causing Plaintiff MARRTINEZ to fall to the ground, without lawful reason or cause.

       15. That the actions of Defendants, NEW YORK CITY POLICE SERGEANT MARTINEZ and

           Defendant NEW YORK CITY POLICE OFFICER TODD HANSEN occurred in and during

           the course and scope of their duties and functions as New York City Police Officers, and while

           acting as agents and employees of THE NEW YORK CITY POLICE DEPARTMENT and

           Defendant CITY OF NEW YORK, resulting in the aforementioned and hereinafter mentioned

           harm to Plaintiff.

                                           SECOND FEDERAL CLAIM


          Violation of Rights Secured by Section 42 U.S.C. 1983 and the Fourth and Fourteenth

                      Amendments to the United States Constitution- Excessive Force




                                                    6
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 7 of 13 PageID #: 108



       16. The Plaintiffs incorporate by reference the allegations contained in Paragraphs One (1) through

           Fifteen (15) as if fully set forth herein.

       17. Upon information and belief, on May 15, 2015 the conduct of Defendant NEW YORK CITY

           POLICE OFFICER MICHAEL ARDOLINO, acting under color of State Law, violated Section

           42 U.S.C. 1983 by unlawfully using excessive force upon Plaintiff JUSTIN MARTINEZ, by

           repeatedly striking Plaintiff JUSTIN MARTINEZ on the legs without lawful reason or cause.

       18. That the actions of Defendant NEW YORK CITY POLICE OFFICER MICHAEL

           ARDOLINO occurred in and during the scope of his duties and functions as a New York City

           Police Officer, and while acting as an agent and employee of the NEW YORK CITY POLICE

           DEPARTMENT and Defendant CITY OF NEW YORK resulting in the aforementioned and

           hereinafter mentioned harm to Plaintiff JUSTIN MARTINEZ.

                                             THIRD FEDERAL CLAIM

             Violation of the Rights Secured by Section 42 U.S.C. 1983 and the Fourth, Fifth and

                  Fourteenth Amendments to the United States Constitution- Excessive Force

       19. The Plaintiff incorporate by reference each of the allegations set forth in Paragraphs One (1)

           through Eighteen (18) as if fully set forth herein.

       20. Upon information and belief, on May 15, 2015 inside the of the residence of Plaintiff JUSTIN

           MARTINEZ, the conduct of Defendant, NEW YORK CITY POLICE OFFICER TODD

           HANSEN, acting under color of State Law, violated Section 42 U.S.C. 1983 by unlawfully and

           repeatedly punching Plaintiff JUSTIN MARTINEZ in the face and body causing physical

           injury to Plaintiff JUSTIN MARTINEZ.

       21. That the actions of Defendant, NEW YORK CITY POLICE OFFICER TODD HANSEN

           occurred in and during the course and scope of his duties, functions and employment as a New

           York City Police Officer, and while acting as an agent and employee of the NEW YORK CITY

           POLICE DEPARTMENT and Defendant CITY OF NEW YORK, resulting in the

           aforementioned and hereinafter mentioned harm to Plaintiff JUSTIN MARTINEZ.

                                                        7
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 8 of 13 PageID #: 109



                                          FOURTH FEDERAL CLAIM

               Violation of Rights Secured by Section 42 U.S.C. 1983 and the Fourth, Fifth and

                   Fourteenth Amendments to the United States Constitution- False Arrest

       22. The Plaintiffs incorporate by reference each of the allegations contained in Paragraphs One

           (1) through Twenty One (21) as if fully set forth herein.

       23. Upon information and belief, on May 15, 2015, the conduct of named Defendant, NEW YORK

           CITY POLICE OFFICER MICHAEL ARDOLINO, acting under color of State Law, violated

           Section 42 U.S.C. 1983 by unlawfully arresting Plaintiff JUSTIN MARTINEZ without lawful

           reason or cause.

       24. That the actions of Defendant NEW YORK CITY POLICE OFFICER MICHAEL

           ARDOLINO occurred in and during the scope of his duties and functions as a New York City

           Police Officer, and while acting as an agent and employee of THE NEW YORK CITY POLICE

           DEPARTMENT and Defendant CITY OF NEW YORK, resulting in the aforementioned and

           hereinafter mentioned harm to Plaintiff JUSTIN MARTINEZ.

                                            FIFTH FEDERAL CLAIM

            Violation of Rights Secured by the Fourth and Fourteenth Amendments to the United

                                       States Constitution- Excessive Force

       25. The Plaintiffs incorporate by reference each of the allegations contained in Paragraphs One (1)

           through Twenty Four (24) as if fully set forth herein.

       26. That on May 15, 2015 the conduct of Defendants, NEW YORK CITY POLICE SERGEANT

           ROBERT MARTINEZ, NEW YORK CITY POLICE OFFICER TODD HANSEN and NEW

           YORK CITY POLICE OFFICER JOHN DOE NUMBER ONE acting under color of Sate Law,

           violated Section 42 U.S.C 1983 by unlawfully pushing Plaintiff JENNIE PEREZ VIERRA up

           against a wall causing injury to Plaintiff VIERRA and holding her there, refusing to allow her

           to move and restricting her ability to breath, without lawful reason or cause



                                                    8
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 9 of 13 PageID #: 110



       27. That the actions of Defendants, NEW YORK CITY POLICE SERGEANT ROBERT

           MARTINEZ, NEW YORK CITY POLICE OFFICER TODD HANSEN and NEW YORK

           CITY POLICE OFFICER JOHN DOE NUMBER ONE occurred in and during the scope of

           their duties and functions as New York City Police Officers, and while acting as employees

           and agents of THE NEW YORK CITY POLICE DEPARTMENT, resulting in the

           aforementioned and hereinafter mentioned harm to Plaintiff JENNIE PEREZ VIERRA.

                                             SIXTH FEDERAL CLAIM

              Violation of Rights Secured by Section 42 U.SC. 1983 and the Fifth and Fourteenth

                    Amendments to the United States Constitution- Due Process Violations

       28. The Plaintiffs incorporate by reference the allegations contained in Paragraphs One (1) through

           Twenty Seven (27) as if fully set forth herein.

       29. Upon information and belief, the conduct of Defendants, NEW YORK CITY POLICE

           OFFICER TODD HANSEN and NEW YORK CITY POLICE SERGEANT ROBERT

           MARTINEZ acting under color of State Law, violated Section 42 U.S.C 1983 by unlawfully

           preventing the filming of the incident and threatening to arrest the Plaintiffs’ family members

           to prevent them from memorializing the Defendants’ actions without lawful reason or cause.

       30. That the actions of Defendants NEW YORK CITY POLICE OFFICER TODD HANSEN and

           NEW YORK CITY POLICE SERGEANT ROBERT MARTINEZ occurred in and during the

           scope of their duties, functions and employment as New York City Police Officers, and while

           acting as agents and employees of the NEW YORK CITY POLICE DEPARTMENT and

           Defendant CITY OF NEW YORK, resulting in the aforementioned and hereinafter mentioned

           harm to Plaintiffs

                                           FIRST STATE LAW CLAIM

       31. The Plaintiffs incorporate by reference each of the allegations contained in paragraphs One (1)

           through Thirty (30 as if fully set forth herein.



                                                     9
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 10 of 13 PageID #: 111



        32. That the actions of Defendant CITY OF NEW YORK, by negligently hiring, training,

            screening, supervising and/or using Defendant NEW YORK CITY POLICE OFFICER

            MICHAEL ARDOLINO resulted in physical injury to Plaintiff JUSTIN MARTINEZ, and

            causing the aforementioned and hereinafter mentioned harm to Plaintiff JUSTIN MARTINEZ.


                                         SECOND STATE LAW CLAIM


        33. The Plaintiffs incorporate by reference each of the allegations contained in paragraphs One (1)

            through Thirty Two (32) as if fully set forth herein.

        34. That the actions of Defendant CITY OF NEW YORK, by negligently hiring, training,

            screening, supervising and/or instructing Defendant NEW YORK CITY POLICE SERGEANT

            ROBERT MARTINEZ, resulted in physical injury to Plaintiff JUSTIN MARTINEZ, and

            causing the aforementioned and hereinafter mentioned harm to Plaintiff JUSTIN MARTINEZ.


                                          THIRD STATE LAW CLAIM


        35. The Plaintiffs incorporate by reference each of the allegations contained in paragraphs One (1)

            through Thirty Four (34) as if fully set forth herein.

        36. That the actions of Defendant CITY OF NEW YORK, by negligently hiring. Training,

            screening, supervising and/or instructing Defendant NEW YORK CITY POLICE OFFICER

            TODD HANSEN, resulted in physical injury to Plaintiff JUSTIN MARTINEZ, and causing

            the aforementioned and hereinafter mentioned harm to Plaintiff JUSTIN MARTINEZ.


                                        FOURTH STATE LAW CLAIM


        37. The Plaintiffs incorporate by reference each of the allegations contained in paragraphs One (1)

            through Thirty Six (36) as if fully set forth herein.

        38. That the actions of Defendant CITY OF NEW YORK, by negligently hiring, training,

            screening, supervising and/or instructing Defendant NEW YORK CITY POLICE OFFICER

            JOHN DOE NUMBER ONE, resulting in physical injury to Plaintiff JUSTIN MARTINEZ,

                                                     10
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 11 of 13 PageID #: 112



            and causing the aforementioned and hereinafter mentioned harm to Plaintiff JUSTIN

            MARTINEZ.


                                          FIFTH STATE LAW CLAIM


        39. The Plaintiffs incorporate by reference each of the allegations set forth in paragraphs One (1)

            through Thirty Eight (38) as if fully set forth herein.

        40. That the Defendant CITY OF NEW YORK, through the doctrine of Respondeat Superior, is

            liable for the actions of Defendants NEW YORK CITY POLICE OFFICER MICHAEL

            ARDOLINO, NEW YORK CITY POLICE SERGEANT ROBERT MARTINEZ, NEW

            YORK CITY POLICE OFFICER TODD HANSEN and NEW YORK CITY POLICE

            OFFICER JOHN DOE NUMBER ONE, which resulted in the false arrest, detention,

            photographs and searches of Plaintiff JUSTIN MARTINEZ, public humiliation and

            embarrassment, emotional distress and the incurrence of monetary damages, and resulting in

            the aforementioned and hereinafter mentioned harm to Plaintiffs MARTINEZ and VIERRA.

                                            SIXTH STATE LAW CLAIM

        41. The Plaintiffs incorporate by reference each of the allegations set forth in paragraphs One (1)

            through Forty (40) as if fully set forth herein.

        42. That the actions of Defendant NEW YORK CITY POLICE OFFICER MICHAEL

            ARDOLINO, resulted in the intentional assault of Plaintiff JUSTIN MARTINEZ, causing the

            aforementioned and hereinafter mentioned harm to Plaintiffs.

                                          SEVENTH STATE LAW CLAIM

        43. The Plaintiffs incorporate by reference each of the allegations set forth in paragraphs One (1)

            through Forty Two (42) as if fully set forth herein.

        44. That the actions of Defendant NEW YORK CITY POLICE OFFICER ROBERT MARTINEZ,

            resulted in the intentional assault of Plaintiffs JUSTIN MARTINEZ and JENNIE RIVERA,




                                                      11
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 12 of 13 PageID #: 113



            resulting in physical injury to the Plaintiffs, causing the aforementioned and hereinafter

            mentioned harm to Plaintiffs.

                                            EIGHTH STATE LAW CLAIM

        45. The Plaintiffs incorporate by reference each of the allegations contained in paragraphs One (1)

            through Forty Four (44) as if fully set forth herein.

        46. That the actions of Defendant CITY OF NEW YORK, by negligently hiring, training,

            screening, supervising and/or instructing Defendant NEW YORK CITY POLICE OFFICER

            TODD HANSEN, resulted in physical injury to Plaintiff JUSTIN MARTINEZ,, and causing

            the aforementioned and hereinafter mentioned harm to Plaintiff JUSTIN MARTINEZ.

                                            NINTH STATE LAW CLAIM

        47. The Plaintiffs incorporate by reference each of the allegations contained in paragraphs One (1)

            through Forty Six (46) as if fully set forth herein.

        48. That the actions of Defendants NEW YORK CITY POLICE SERGEANT ROBERT

            MARTINEZ, NEW YORK CITY POLICE OFFICER TODD HANSEN and NEW YORK

            CITY POLICE OFFICER JOHN DOE NUMBER ONE resulted in damage to the Plaintiff’s

            property, causing the aforementioned and hereinafter mentioned harm to the Plaintiffs.




                                                     12
Case 1:16-cv-02460-RRM-CLP Document 34 Filed 05/10/18 Page 13 of 13 PageID #: 114



           WHEREFORE, the Plaintiffs demand the following relief, jointly and severably, against all

           Defendants:

              1. Compensatory Damages for Plaintiffs.

              2. Punitive Damages against Defendants, NEW YORK CITY POLICE OFFICER

                  MICHAEL ARDOLINO, NEW YORK CITY POLICE SERGEANT ROBERT

                  MARTINEZ, NEW YORK CITY POLICE OFFICER TODD HANSEN and NEW

                  YORK CITY POLICE OFFICER JOHN DOE NUMBER ONE.

              3. A Court Order pursuant to 42 U.S.C, 1998 that the Plaintiffs are entitled to costs of the

                  instant action, and attorney fees.

              4. Such other and further relief as the Court may deem necessary and appropriate,

                  including declaratory relief.

                                                                                /S/

                                                                        ________________________
              Dated: May 10, 2018                                       VICTOR M. BROWN, ESQ.
              New York, NY                                              (VB-5289)
                                                                        Attorney for Plaintiffs
                                                                        11 Park Place, Suite 1100
                                                                        New York, NY 10007
                                                                        (212) 227-7373




                                                   13
